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                        IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF UTAH


UNITED STATES OF AMERICA,
                Plaintiff,
                                                               CASE NO: 2:21-CR-388
        vs.

JEFFREY MICHAEL RYANS,                                         DETENTION ORDER
                Defendant.


       The defendant is on supervised release and has been accused of violating it. The court
afforded the defendant an opportunity for a detention hearing under Federal Rule of Criminal
Procedure 32.1(a)(6) and 18 U.S.C. § 3143(a)(1). The court concludes the defendant must be
detained pending the revocation hearing.

       Based on the information of record, the court finds that the defendant's release would pose
an unmanageable risk of flight and an unmanageable risk of harm to the public. The defendant
has simply failed to meet the burden under Federal Rule of Criminal Procedure 32.1(a)(6) of
proving the risks posed to be manageable, by clear and convincing evidence.

       Specifically, the court finds that the defendant

 ☐    has a criminal record which indicates a propensity to violate the law and court orders;
 ☐    has a criminal record which indicates a propensity to violate court orders;
 ☐    has violated the conditions of release previously imposed by the court;
 ☐    has a propensity to or history involving harm or threatened harm to others;
 ☐    is addicted or abuses mood-altering chemicals and is likely to continue such conduct and
      violate the law if released;
 ☐    was not truthful with probation and therefore poses a substantial risk of noncompliance
      with supervision;
 ☐    is not a United States citizen, is subject to an ICE detainer, or faces deportation;
 ☐    has a history of unlawfully possessing or using dangerous weapons;
 ☐    has substantial contacts with a foreign country and could flee the country;
 ☐    has limited contacts with the community;
 ☐    lacks indication of a stable residence;
 ☐    has limited employment contacts;
 ☐    has failed to appear for court proceedings in the past;
 ☐    is currently in state custody;
 ☐    committed an alleged crime while on supervision;
 ☐    allegedly absconded from supervision, failing to stay on contact with probation
 ☐    has treatment needs that cannot be met by supervision conditions which will pose a risk of
      harm if the defendant is released;
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 ☒ submitted on the issue of detention, failing to meet his/her/their burden to establish the
   risks he/she/they pose are manageable;

and conditions which restrict the defendant’s travel, personal contacts, and possession of drugs,
alcohol, and/or firearms; require reporting, education, employment, or treatment; or monitor the
defendant’s movements or conduct; or any combination of these conditions or others currently
proposed or available (see 18 U.S.C. § 3142(c)), will not sufficiently ameliorate the risks posed
if the defendant is released.

Mr. Ryans indicated that due to a deal he reached with the government, where the government
agreed to recommend a sentence at the low-end of the applicable sentencing guideline range, he
would submit on the issue of detention and waive his probable cause hearing. By submitting
without proffering any evidence or information, Mr. Ryans failed to meet his burden to establish
the risks he poses are manageable.

                                   Directions Regarding Detention

        The defendant is committed to the custody of the Attorney General or a designated
representative for confinement in a correctional facility separate, to the extent practicable, from persons
awaiting or serving sentences or held in custody pending appeal. The defendant must be afforded a
reasonable opportunity to consult privately with defense counsel. On order of the United States Court
or on request of an attorney for the government, the person in charge of the correctional facility must
deliver the defendant to the United States Marshal for a court appearance.

Dated November 3, 2022.


                                                         BY THE COURT:



                                                         ________________________________
                                                         Magistrate Judge Daphne A. Oberg
